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                        UNITED STATES DISTRICT COURT
                         DISTRICT OF MASSACHUSETTS


UNITED STATES OF AMERICA,             )
                                      )
v.                                    )
                                      )     Criminal No. 18-10364-DPW
JASIEL F. CORREIA, II, and            )
GENOVEVA ANDRADE,                     )
                                      )
                     Defendants.      )

                                MEMORANDUM
                                 REGARDING
                              PROTECTIVE ORDER
                                March 25, 2022

      On June 26, 2020, I entered a Second Amended Protective Order [Dkt.

No. 124] (the “Exception Order”) authorizing an expanded exception to the

customary protective order1 in this case governing dissemination of discovery

materials to the parties in criminal cases of some complexity. The Exception

Order was designed to permit disclosure by the government to the

Massachusetts Cannabis Control Commission for use in performing its

regulatory duties.

      Since this matter was first assigned to my docket on October 4, 2018, I

have been presented with substantial evidence of misconduct and corruption in

the conduct of the marijuana business within the Massachusetts Cannabis

Control Commission’s supervision. The Exception Order gave specific

directions regarding further public disclosures by the Commission in



1An initial Protective Order in this matter [Dkt. No. 27] (the “Original Protective
Order”) was entered on December 11, 2018, by Magistrate Judge Cabell.
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furtherance of its duties.2 The Exception Order also indicated that if additional

disclosures not covered by its directive were thought by the Commission to be

necessary, the Commission was free to seek further direction from this court.

      Apparently at the instance of the Commission, the government has now

moved [Dkt. No. 410] to “lift the protective order” as it pertains to the

Commission. The government’s motion does not provide a particularized

statement of necessity for disturbing the current terms of the Exception Order.

While the defendant Andrade (through her counsel) has indicated she does not

oppose the motion, the defendant Correia has filed a written opposition [Dkt.

No. 414].

      Without adopting the grounds for opposition stated by defendant Correia,

I will nevertheless deny the government’s motion “to lift the protective order.”

In this connection, I make four brief points:

      1.    It is unclear why the Commission chose at this point to approach



2 The government first moved [Dkt. No. 101] on February 7, 2020, to amend the
Original Protective Order to allow the government to share certain materials
with the Massachusetts Cannabis Control Commission to facilitate
performance of its “legitimate regulatory duties” by the Commission. The first
motion to amend was supported by documentation signed by Christine Baily,
the General Counsel of the Commission. On that basis, I entered the amended
protective order [Dkt. No. 102] on February 10, 2020, sought by the
government in its motion, which was assented to by both defendants.
  The government filed an assented-to motion [Dkt No. 123] to modify the
amended protective order on June 25, 2020. This second motion to amend the
Original Protective Order was supported by documentation signed by Attorney
Baily and by Yaw Gyebi, the Commission’s Chief of Investigation and
Enforcement, who is also, like Ms. Baily, an attorney authorized to practice law
in Massachusetts. On that basis I entered the Second Amended Protective
Order [Dkt. No. 124] on June 26, 2020.

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this court through the government. Sensibly read, the Exception Order makes

clear that the Commission itself could seek modification if it was necessary. By

having a third party speak for it, the Commission has only managed to make

less than clear what it is that it is seeking. I do not ordinarily entertain such

oblique and attenuated approaches to the modification of court orders. That

much should have been obvious to the Commission, particularly after twice

being involved in motions to amend the original Protective Order. See generally

Note 2 above. In order to assist the Commission in understanding its

authorization at this point to approach the court directly, I have instructed the

clerk to have the Commission specifically listed on the docket as an “Interested

Party” represented by Attorney Baily.3

      2.    If the Commission in the future seeks some specific identifiable

modification of the Exception Order, it must itself, through an attorney of

record, file a motion for amendment setting forth with particularity its grounds

for contending such a modification is necessary. Vague assertions — such as

those made by government counsel in support of the motion to lift the

protective order — referencing “unintended consequence[s] preventing the

[Commission] from openly and transparently conducting certain of its

regulatory activities in the ordinary course of its business,” even if made




3In this connection, I note that Attorney Baily is a member of the bar of this
court with CM/ECF notice and filing privileges; Attorney Gyebi apparently is
not at this time.


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directly by the Commission itself, do not begin to meet the particularity

requirements.

      3.    The Commission has not been authorized to have access to grand

jury information through the Exception Order. The government for its part has

informed the clerk that no such material has been “disclosed/produced” to the

Commission. In any event, the United States Court of Appeals for the First

Circuit has authoritatively outlined the grounds for and general dimensions of

the limitation on the dissemination of grand jury products of discovery in

criminal proceedings. See generally In Re: Petition for Order Directing Release

of Records (Lepore), 27 F.4th 84 (1st Cir. 2022). Absent further order of this

court, the government and the Commission shall observe those limitations.

      4.    The defendant’s opposition to the motion to lift the protective order

contends that “the most appropriate course, given the current circumstances,

would be to maintain the status quo” because the “risk remains that Mr.

Correia would suffer unfair prejudice from any further public disclosure” so

long as “[o]ne possible outcome of [his pending appeal] is a new trial for Mr.

Correia.” This grounds, which does not provide an issue of immediacy in light

of the concertedly extended course the parties have taken to briefing and

addressing the appeal, does not give adequate consideration to the salient

competing and countervailing interests involved both a) in balancing the fair

trial/free press considerations presented by this matter and b) in securing the



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public’s interest in not further and unnecessarily obstructing authorized

proceedings by other regulatory agencies concerned with the activities at issue

in this criminal prosecution.

      Accordingly, the motion to lift the protective order [Dkt. No. 410] is

hereby DENIED without prejudice to any further particularized request for

amendment or modification of the Exception Order filed directly by the

Commission through its counsel of record as an interested party in this matter.




                                      /s/ Douglas P. Woodlock
                                      DOUGLAS P. WOODLOCK
                                      UNITED STATES DISTRICT JUDGE




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